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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF KENTUCKY
                             CENTRAL DIVISION AT FRANKFORT

CRIMINAL NO. 08-21-DCR

UNITED STATES OF AMERICA                                                                PLAINTIFF


V.                          MEMORANDUM OPINION AND ORDER



LEONARD V. LAWSON,
CHARLES WILLIAM NIGHBERT, and
BRIAN RUSSELL BILLINGS                                                              DEFENDANTS

                                         ** ** ** ** ** ** **

       This matter is before the court on the motion of the United States to quash a third-party

subpoena duces tecum which defendant Leonard V. Lawson (“Lawson”) served to James

Rummage.1 This motion to quash [DE #33] has been fully briefed and was heard on November 10,

2008, in a combined hearing with other motions also being heard at that time.

       The record also reflects that by Order of December 2, 2008, the Magistrate Judge

established a protocol that the parties are required to follow in obtaining documents from third

parties via subpoenas duces tecum. The Order establishing the protocol essentially rendered moot

the foregoing motion identified as DE #33, and by Order of December 2, 2008, the Magistrate

Judge denied the motion of the United States to quash the subpoena duces tecum served to James

Rummage. However, defendant Lawson’s subpoena duces tecum served to James Rummage was

served to him in September of 2008, prior to the development of the protocol established by the

Order of December 2, 2008. Thus, the service of this subpoena duces tecum did not follow the

protocol established by the Order of December 2, 2008; therefore, in order to be consistent with the

protocol, the Magistrate Judge has reviewed the subpoena duces tecum defendant Lawson served




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         Marc S. Murphy, counsel for James Rummage, accepted service of the subpoena duces tecum
on behalf of James Rummage.
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to James Rummage and the thirty-five (35) items defendant Lawson requested James Rummage

to produce. In the process of conducting that review, the Magistrate Judge has also considered

the merits of the motion of the United States to quash the subpoena duces tecum served to James

Rummage.

                                       Discussion/Analysis

       At the outset, it must be kept in mind that Rule 17(c) subpoenas are not a substitute for Rule

16 discovery. They must be specific, not a fishing expedition. United States v. Hughes, 895 F.2d

1135 (6th Cir. 1990) (defendant’s subpoena requesting comparative pharmaceutical records

properly quashed); United States v. Justice, No. 00-1075, 2001 WL 820902, (6th Cir. June 25, 2001)

(unpublished opinion). Rule 17(c) subpoenas may not require oppressive and abusive responses,

and they must seek relevant documents, known to exist, and that are not privileged. United States

v. Shook, No. 84-3626, 1985 WL 13808 (6th Cir. October 16, 1985) (unpublished opinion)

(defendants not entitled to perusal of informant’s file with ATF; request not specific).

       In view of the foregoing applicable law, the Magistrate Judge has reviewed each of the

thirty-five (35) document requests accompanying the subpoena duces tecum served to James

Rummage. That review is set out in detail, as follows:

       Request No. 1 - All state and federal tax returns for Jim Rummage, Anita
       Rummage, and/or any dependent of Jim or Anita Rummage.

       The Magistrate Judge is unpersuaded by Lawson’s argument that this request is relevant

to Rummage’s claim that he received cash payments from Lawson and to the government’s “ATM

withdrawal pattern” corroboration theory. This request appears to be a “fishing expedition.” James

Rummage need not comply with this request.

       Request No. 2 - All W-2 and 1099-Series tax forms issued to Jim Rummage, Anita
       Rummage, or any dependent of Jim or Anita Rummage.




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       The Magistrate Judge is unpersuaded by Lawson’s argument that this request is relevant

to Rummage’s claim that he received cash payments from Lawson and to the government’s “ATM

withdrawal pattern” corroboration theory. This request appears to be a “fishing expedition.” James

Rummage need not comply with this request.

       Request No. 3 - All financial statements issued for any bank, checking, savings,
       stock, brokerage, 401(k), pension, retirement, IRA, Roth IRA, 529 Plan, mortgage,
       loan, line of credit, or business account owned by Jim Rummage, Anita Rummage,
       any dependent of Jim or Anita, or any business in which Jim or Anita Rummage are
       officers, directors, partners, members, or owners.

       The Magistrate Judge is unpersuaded by Lawson’s argument that this request is relevant

to Rummage’s claim that he received cash payments from Lawson and to the government’s “ATM

withdrawal pattern” corroboration theory. This request appears to be a “fishing expedition.” James

Rummage need not comply with this request.

       Request No. 4 - All credit card statements for credit cards issued in the name of
       Jim Rummage, Anita Rummage, or any dependent of Jim or Anita Rummage.

       The Magistrate Judge is unpersuaded by Lawson’s argument that this request is relevant

to Rummage’s claim that he received cash payments from Lawson and to the government’s “ATM

withdrawal pattern” corroboration theory. This request appears to be a “fishing expedition.” James

Rummage need not comply with this request.

       Request No. 5 - All records of purchases of items greater than $100 in value by
       Jim Rummage, Anita Rummage, or a dependent of Jim or Anita Rummage.

       The Magistrate Judge is unpersuaded by Lawson’s argument that this request is relevant

to Rummage’s claim that he received cash payments from Lawson and to the government’s “ATM

withdrawal pattern” corroboration theory. This request appears to be a “fishing expedition.” James

Rummage need not comply with this request.

       Request No. 6 - All professional licenses or certifications issued by any public
       agency or professional licensing board to Jim or Anita Rummage since January 1,
       1998.




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       This request appears to be relevant to Lawson’s claim that Rummage has made false

statements concerning his engineering license and would otherwise go to Rummage’s credibility.

Rummage is expected to comply with this request.

       Request No. 7 - All documents of cash withdrawals, Automated Teller Machine
       transactions, split deposits, IOUs, personal or business loans, or any other records
       of currency generated by or available to Jim Rummage from any source.

       This request appears to be relevant to Rummage’s claim that he received cash payments

from Lawson and to the government’s “ATM withdrawal pattern” corroboration theory in that it would

show whether Rummage had additional income during the 14-month time period. Rummage is

expected to comply with this request.

       Request No. 8 - All documents of cash withdrawals, Automated Teller Machine
       transactions, split deposits, IOUs, personal or business loans, or any other records
       of currency generated by or available to Anita Rummage from any source.

       This request appears to be relevant to Rummage’s claim that he received cash payments

from Lawson and to the government’s “ATM withdrawal pattern” corroboration theory in that it would

show whether Rummage had additional income during the 14-month time period. Rummage is

expected to comply with this request.

       Request No. 9 - All cancelled or returned checks on any checking account opened
       in the name of Jim Rummage and/or Anita Rummage, or any dependent of Jim or
       Anita Rummage.

       The Magistrate Judge is unpersuaded by Lawson’s argument that this request is relevant

to Rummage’s claim that he received cash payments from Lawson and to the government’s “ATM

withdrawal pattern” corroboration theory. This request appears to be a “fishing expedition.” James

Rummage need not comply with this request.

       Request No. 10 - A listing and all corresponding records of charitable contributions
       or donations.

       This request appears to be marginally relevant to Rummage’s claim that he received cash

payments from Lawson and to the government’s “ATM withdrawal pattern” corroboration theory in



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that it would show whether Rummage had additional expenditures that were tax-deductible during

the 14-month time period. Rummage is expected to comply with this request.

       Request No. 11 - A listing and all corresponding records of any donations or
       contributions solicited or received by Jim or Anita Rummage in currency or any other
       form.

       The Magistrate Judge is unpersuaded by Lawson’s argument that this request is relevant

to Rummage’s claim that he received cash payments from Lawson and to the government’s “ATM

withdrawal pattern” corroboration theory. This request appears to be a “fishing expedition.” James

Rummage need not comply with this request.

       Request No. 12 - All records of political contributions or in-kind political donations
       made to any candidate, party, political action committee, public question, or other
       special interest group by Jim Rummage, Anita Rummage, or any dependent of Jim
       or Anita Rummage.

       This request appears to be marginally relevant to Rummage’s claim that he received cash

payments from Lawson and to the government’s “ATM withdrawal pattern” corroboration theory in

that it would show whether Rummage had additional expenditures that were tax-deductible during

the 14-month time period. Rummage is expected to comply with this request.

       Request No. 13 - All communications, including written correspondence, e-mail,
       audio or video recordings, phone messages, text messages, or electronic facsimile
       transmissions, between Jim Rummage and the FBI, the Attorney General’s office,
       the Office of the Inspector General for the Kentucky Transportation Cabinet, the
       Kentucky State Police, the United States Attorney’s Office, or the United States
       Department of Justice.

       The Magistrate Judge is unpersuaded by Lawson’s argument that this request is relevant

to Rummage’s claim that he received cash payments from Lawson and to the government’s “ATM

withdrawal pattern” corroboration theory. This request appears to be a “fishing expedition.” James

Rummage need not comply with this request.

       Request No. 14 - All communications, including written correspondence, e-mail,
       audio or video recordings, phone messages, text messages, or electronic facsimile
       transmissions, between Jim Rummage and Tom Loftus, Leonard Lawson, Bill
       Nighbert, Brian Billings, Henry Hinkle, Rex Greer, Robert Russell, Jim Scott, Mac
       Yowell, Ryan Griffith, Steve Waddle, Marc Williams, Marcie Mathews, Sam


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       Beverage, Gilbert Newman, Joe Prather, Donnie Miracle, Katrina Bradley, Steve
       Beshear, Mike Duncan, David Ray, Maxwell Bailey, or Chuck Knowles.

       This request appears to request evidence that may be relevant to the government’s

contention that the estimates were exchanged in a series of meetings and/or communications with

the defendants, and the request would adduce evidence to corroborate this contention and would

identify the dates and occasions when these events allegedly occurred. Rummage is expected to

comply with this request; however, Rummage need not produce any statements or summaries

prepared by or for the United States.

       Request No. 15 - All Kentucky Transportation Cabinet records, files, documents,
       communications, contracts, bid estimates, permits, or change orders since January
       1, 1998.

       The Magistrate Judge is unpersuaded by Lawson’s argument that this request is relevant

to Rummage’s claim that he received cash payments from Lawson and to the government’s “ATM

withdrawal pattern” corroboration theory. This request appears to be a “fishing expedition.” James

Rummage need not comply with this request.

       Request No. 16 - Copies of any currency in the possession of Jim or Anita
       Rummage or any dependent of Jim or Anita Rummage that Jim Rummage alleges
       was provided by Leonard Lawson.

       This request appears to be relevant to Rummage’s claim that he received cash payments

from Lawson and to the government’s “ATM withdrawal pattern” corroboration theory in that it would

show whether Rummage had additional income during the 14-month time period. Rummage is

expected to comply with this request.

       Request No. 17 - Copies of any currency in the possession of Jim or Anita
       Rummage or any dependent of Jim or Anita Rummage that Jim Rummage alleges
       was provided by Bill Nighbert.

       This request appears to be relevant to Rummage’s claim that he received cash payments

and to the government’s “ATM withdrawal pattern” corroboration theory in that it would show




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whether Rummage had additional income during the 14-month time period. Rummage is expected

to comply with this request.

       Request No. 18 - Copies of any currency in the possession of Jim or Anita
       Rummage or any dependent of Jim or Anita Rummage that Jim Rummage alleges
       was provided by Brian Billings.

       This request appears to be relevant to Rummage’s claim that he received cash payments

and to the government’s “ATM withdrawal pattern” corroboration theory in that it would show

whether Rummage had additional income during the 14-month time period. Rummage is expected

to comply with this request.

       Request No. 19 - Copies of any bank receipts, deposit slips, or other notices or
       verifications for any currency placed into a financial account that Jim Rummage
       alleges was provided by Leonard Lawson.

       This request appears to be relevant to Rummage’s claim that he received cash payments

from Lawson and to the government’s “ATM withdrawal pattern” corroboration theory in that it would

show whether Rummage had additional income during the 14-month time period. Rummage is

expected to comply with this request.

       Request No. 20 - All video and audio recordings created by Jim Rummage involving
       employees or former employees of the Kentucky Transportation Cabinet or any
       individual who, either on their own behalf or on the behalf of a company or
       contractor, conducted business with the Kentucky Transportation Cabinet.

       This request appears to be request evidence that may be relevant to the government’s

contention that the estimates were exchanged in a series of meetings and/or communications with

the defendants, and the request would adduce evidence to corroborate this contention and would

identify the dates and occasions when these events allegedly occurred. Rummage is expected to

comply with this request.

       Request No. 21 - All phone records for any cell phones, home phones, car phones,
       business phones, or any other telephones used by or in the possession of Jim
       Rummage, Anita Rummage, or any dependent of Jim or Anita Rummage.




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       This request appears to be request evidence that may be relevant to the government’s

contention that the estimates were exchanged in a series of meetings and/or communications with

the defendants, and the request would adduce evidence to corroborate this contention and would

identify the dates and occasions when these events allegedly occurred. Rummage is expected to

comply with this request; however, he is only required to provide those phone records showing

phone calls made to or from the defendants.

       Request No. 22 - All invoices or receipts for artwork sold by Anita Rummage.

       The Magistrate Judge is unpersuaded by Lawson’s argument that this request is relevant

to Rummage’s claim that he received cash payments from Lawson and to the government’s “ATM

withdrawal pattern” corroboration theory. This request appears to be a “fishing expedition.” James

Rummage need not comply with this request.

       Request No. 23 - All work or personal calendars for Jim Rummage, Anita
       Rummage, or any dependent of Jim or Anita Rummage.

       The Magistrate Judge is unpersuaded by Lawson’s argument that this request is relevant

to Rummage’s claim that he received cash payments from Lawson and to the government’s “ATM

withdrawal pattern” corroboration theory. This request appears to be a “fishing expedition.” James

Rummage need not comply with this request.

       Request No. 24 - All correspondence, applications, resumes, communications, or
       other documents submitted or created for the purpose of trying to secure a political
       appointment with the Beshear administration by Jim or Anita Rummage, including
       any documents used to attempt to secure Jim Rummage’s appointment as District
       Engineer, Deputy State Highway Engineer, Commissioner of Highways, or
       Transportation Secretary.

       The Magistrate Judge is unpersuaded by Lawson’s argument that this request is relevant

to Rummage’s claim that he received cash payments from Lawson and to the government’s “ATM

withdrawal pattern” corroboration theory. This request appears to be a “fishing expedition.” James

Rummage need not comply with this request.




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       Request No. 25 - All payments, checks, reimbursements, advances, check stubs
       pay stubs, electronic deposits, or other notifications of payment made by the
       Kentucky Transportation Cabinet to Jim Rummage or Anita Rummage.

       The Magistrate Judge is unpersuaded by Lawson’s argument that this request is relevant

to Rummage’s claim that he received cash payments from Lawson and to the government’s “ATM

withdrawal pattern” corroboration theory. This request appears to be a “fishing expedition.” James

Rummage need not comply with this request.

       Request No. 26 - All pension or retirement payments, checks, check stubs, pay
       stubs, electronic deposits, bank records, or other notifications received by Jim
       Rummage from January 1, 2006 to the present.

       The Magistrate Judge is unpersuaded by Lawson’s argument that this request is relevant

to Rummage’s claim that he received cash payments from Lawson and to the government’s “ATM

withdrawal pattern” corroboration theory. This request appears to be a “fishing expedition.” James

Rummage need not comply with this request.

       Request No. 27 - All paper work completed by Jim Rummage to receive pension
       or retirement benefits from the State of Kentucky or the Kentucky Transportation
       Cabinet.

       The Magistrate Judge is unpersuaded by Lawson’s argument that this request is relevant

to Rummage’s claim that he received cash payments from Lawson and to the government’s “ATM

withdrawal pattern” corroboration theory. This request appears to be a “fishing expedition.” James

Rummage need not comply with this request.

       Request No. 28 - All records, including any notes, documents, or memoranda, kept
       by Jim Rummage of bid estimates provided to Bill Nighbert, Leonard Lawson, Brian
       Billings, Rex Greer, Sam Beverage, Henry Hinkle, Jim Scott, or any other contractor,
       vendor, bidder, or agent or employee of the same.

       The Magistrate Judge is unpersuaded by Lawson’s argument that this request is relevant

to Rummage’s claim that he received cash payments from Lawson and to the government’s “ATM

withdrawal pattern” corroboration theory. This request appears to be a “fishing expedition.” James

Rummage need not comply with this request.



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       Request No. 29 - Make available for inspection or identify by name all artwork of
       any employee or former employee of the Kentucky Transportation Cabinet or any
       individual, who either on their own behalf or on behalf of a business or contractor,
       conducted business with the Kentucky Transportation Cabinet, including but not
       limited to, Joe Prather, Gilbert Newman, Sam Beverage, Maxwell Bailey, Henry
       Hinkle, Bill Nighbert, Leonard Lawson, Rex Greer, Jim Scott, Marc Williams, Brian
       Billings, Ryan Griffith, Steve Waddle, or Robert Russell.

       The Magistrate Judge is unpersuaded by Lawson’s argument that this request is relevant

to Rummage’s claim that he received cash payments from Lawson and to the government’s “ATM

withdrawal pattern” corroboration theory. This request appears to be a “fishing expedition.” James

Rummage need not comply with this request.

       Request No. 30 - Make available for inspection any recording device used by Jim
       Rummage to prepare audio recordings of Leonard Lawson, Bill Nighbert, or Brian
       Billings.

       It being undisputed that Jim Rummage made various recordings of conversations he had

with the defendants, Jim Rummage is expected to comply with this request.

       Request No. 31 - All records, including any notes, documents, or memoranda, of
       meetings Jim Rummage attended with Bill Nighbert, Leonard Lawson, Brian Billings,
       Rex Greer, Sam Beverage, Henry Hinkle, Jim Scott, or any other contractor, vendor
       bidder, or agent or employee of the same.

       This request appears to be relevant to the government’s contention that Jim Rummage

provided confidential estimates to Lawson, and the request may adduce evidence that is

“reasonably calculated to produce impeachment materials.” United States v. Compton, 1994 WL

328303 @ *3 (6th Cir. July 1, 1994). Jim Rummage is expected to comply with this request.

       Request No. 32 - All records, including engagements, correspondence,
       agreements, contracts, letters, documents, invoices, or other materials, arranging
       for the payment of legal fees and expenses on behalf of Jim Rummage, Anita
       Rummage, or any dependent of Jim or Anita Rummage.

       This request appears to be relevant to Rummage’s claim that he received cash payments

from Lawson and to the government’s “ATM withdrawal pattern” corroboration theory. James

Rummage is expected to comply with this request; however, the Magistrate Judge will determine

the relevancy of any documents produced in compliance with this request.


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       Request No. 33 - All records of proof of payment, including cancelled checks, check
       stubs, invoices, receipts, reports, letters, documents, correspondence, of legal fees
       and expenses incurred by Jim Rummage, Anita Rummage, or any dependent of Jim
       or Anita Rummage.

       This request appears to be relevant to Rummage’s claim that he received cash payments

from Lawson and to the government’s “ATM withdrawal pattern” corroboration theory. James

Rummage is expected to comply with this request; however, the Magistrate Judge will determine

the relevancy of any documents produced in compliance with this request.

       Request No. 34 - All engagement letters for legal services between Stites &
       Harbison law firm and Jim Rummage, Anita Rummage, and any individuals paying
       for the legal fees of Jim or Anita Rummage.

       This request appears to be relevant to the government’s claim that Lawson attempted to pay

for Rummage’s attorney to obstruct the investigation. Lawson is entitled to discover all evidence

relating to the engagement letters for Rummage’s legal services, as well as the payments made

to Rummage’s counsel and the source of those payments. James Rummage is expected to comply

with this request; however, the Magistrate Judge will determine the relevancy of any documents

produced in compliance with this request.

       Request No. 35 - All transcripts, memoranda, notes, or other documents prepared
       of statements provided to the FBI, U.S. Attorney’s Office, Department of Justice,
       Office of the Inspector General for the Kentucky Transportation Cabinet, Kentucky
       State Police, or Kentucky Attorney General’s Office by Jim Rummage, Anita
       Rummage, or any dependent of Jim or Anita Rummage.

       The Magistrate Judge is unpersuaded by Lawson’s argument that this request is relevant

to Rummage’s claim that he received cash payments from Lawson and to the government’s “ATM

withdrawal pattern” corroboration theory. This request appears to be a “fishing expedition.” James

Rummage need not comply with this request.

       Accordingly, IT IS HEREBY ORDERED that the motion of the United States to quash a

third-party subpoena duces tecum which defendant Leonard V. Lawson served to James Rummage

[DE #33] is GRANTED IN PART and DENIED IN PART, as follows:



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       1. The motion to quash is GRANTED as to Item Nos. 1, 2, 3, 4, 5, 9, 11, 12, 13, 15, 22, 23,

24, 25, 26, 27, 28, 29, and 35 of the list attached to the subpoena duces tecum.

       2. The motion to quash is DENIED as to Item Nos. 6, 7, 8, 10, 12, 14, 16, 17, 18, 19, 20,

21, 30, 31, 32, 33, and 34 of the list attached to the subpoena duces tecum.

       3. Defendant Leonard Lawson is directed to provide counsel for James Rummage with a

copy of the Order Relating to Procedure for Responding to Subpoena Duces Tecum dated

December 17, 2008, and James Rummage is directed to comply therewith in producing the

documents he is required to produce, as detailed in the foregoing numerical paragraph 2.

       This 5th day of January, 2009.




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